              Case 1:98-cr-05183-LJO Document 237 Filed 08/12/15 Page 1 of 1

1
                                   UNITED STATES DISTRICT COURT
2
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
3

4    FRANCISCO MEDINA,                                       1:98-cr-005183 LJO
5                            Petitioner,                     ORDER RE “MOTION FOR LEAVE
                                                             TO PLEA COUNTERCLAIM FED. R.
6                      v.                                    CIV. P. 13(e)”
7    UNITED STATES OF AMERICA,
8                            Respondent.
9

10

11          The Court has received and reviewed Petitioner’s filing entitled “Motion for Leave to Plea

12 Counterclaim, Fed. R. Civ. P. 13(e).” Doc. 236 (filed August 10, 2015). The filing requests permission

13 to “serve and file the Supplemental Answer and Counterclaim attached to this motion.” The Court did

14 not received any attachments with the filing, however, so cannot even determine whether it has

15 jurisdiction to act on Petitioner’s request. Moreover, the request, framed as one under Federal Rule of

16 Civil Procedure 13(e), appears to be facially invalid, as this is a Criminal case to which the Federal

17 Rules of Civil Procedure do not apply. Petitioner is reminded that his motion for sentence reduction

18 pursuant to 18 U.S.C. § 3582(c)(2) was denied on August 4, 2014. Doc. 230.

19          For the reasons set forth above, Petitioner’s request is DENIED.

20 IT IS SO ORDERED.

21      Dated:    August 12, 2015                             /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
22

23

24

25

                                                         1
